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Ronald Ball Jr. 12322
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                      IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF UTAH, CENTRAL DIVISION


ADAM CLOWARD, an individual,
                                                MOTION FOR LEAVE OF THE COURT
               Plaintiff,
                                                             TO WITHDRAW
        v.

AYMEE RACE, JOLAYNE (JODIE)
SAMPSON, D. THORNTON, individually
and in their official capacities as Unified
                                                            Case No. 2:20cv00165
Police Department employees; ROBERT
NAYLOR, individually and in his official
                                                            Judge Robert Shelby
capacity as a Salt Lake County Animal
Services employee; UNIFIED POLICE
DEPARTMENT and SALT LAKE
COUNTY, political subdivisions of the state
of Utah; and DOES 1-20, whose identities are
currently unknown,

               Defendants.


       Comes Now, Attorney Ronald Ball Jr. Utah Bar # 12322 pursuant to the DUCivR 83-1.4,
Utah Rules of Civil Procedure Rule 74, and Utah Code of Judicial Administration Rule 13-1.16
Submits this Motion for Leave of the Court to Withdraw. .


   1. Plaintiff’s counsel seeks leave of the court to withdraw from this matter based on the
       following grounds.
       a. Utah Code of Judicial Administration 13-1.16(a)(4) states;




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         (a) Except as stated in paragraph (c), a lawyer shall not represent a client or,
             where representation has commenced, shall withdraw from the
             representation of a client if:

         (b) (a)(1) the representation will result in violation of the rules of professional
             conduct or other law;
      b. Utah Code of Judicial Administration 13-1.16(b)(4) states;
         (a) (b)(4) the client insists upon taking action that the lawyer considers
             repugnant or with which the lawyer has a fundamental disagreement;
      c. Utah Code of Judicial Administration 13-1.16(b)(5) states;
         (a) (b)(5) the client fails substantially to fulfill an obligation to the lawyer
             regarding the lawyer's services and has been given reasonable warning that
             the lawyer will withdraw unless the obligation is fulfilled;
      d. Without prejudicing Plaintiff, Counsel states that continued representation would
         force a violation of these rules. Counsel has sought advise from the Utah Bar OPC
         watch advised counsel to withdraw.
      e. Counsel will supply a sampling of “minor” issues that counsel and plaintiff have been
         unable to resolve. (Issues that could potentially negatively impact Plaintiff’s case will
         not be listed.
         (a) Counsel filed a deficient limited appearance of counsel via the Courts ECF
             system. The court advised counsel to correct the filing.
                 i.       Counsel has unsuccessfully attempted to “Negotiate” a finalization of
                          the Limited Representation for over two (2 ) months. The last month
                          with a threat of withdrawal pending over Plaintiff.
                 ii.      Client and attorney cannot agree on many aspects of his legal
                          representation, most notably the level of participation of Plaintiff in
                          prosecution of his case. Examples:
                          a. The number of hours a week that Plaintiff demands in phone calls
                             to Counsel. Plaintiff has slowly increased his needed time on the
                             phone from simple standard “atty/Client” call a week (30 min), to
                             complaining that four+ (4+) hours a week going over cases is not
                             sufficient.
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                         b. Client repeatedly threatens a Bar complaint on weeks that my
                            schedule will not allow 2-5 hours on the phone with him on a
                            weekly basis.
                         c. Plaintiff spends his time researching Common Law, and case law
                            from the 1700’s and 1800’s from all over the country. He then
                            demands that I look up each case, review it with him, and argue
                            why a NY case from 1888 with a red flag is not usable in his case.
                         d. Reading, re-reading every drafted pleading, and Plaintiff
                            demanding that he participate in every word approval. Having his
                            approve a draft on his own is not an option, It has to be read out
                            loud and every line debated.
                         e. Plaintiff demanded pleadings, and filings that Counsel does not
                            agree should be filed.
                         f. Counsel has made every effort to satisfy the demands of Plaintiff.
                            All efforts have been successful.


   2. There are Four motions Pending;
      a. COUNSEL FILED Motion to Amend Scheduling Order filed on February 11, 2022
          By counsel at the request of Plaintiff. (Response filed by Defense on 02/25/2022)
      b. PRO SE MOTION for Hearing Regarding Discovery and an Extension of Time

          Related to Scheduling Order on February 11, 2022, filed by Plaintiff Adam
          Cloward. (Response filed by Defense on 02/25/2022)
      c. PRO SE MOTION to Amend Complaint and Amend Damages Demand filed

          on February 11, 2022, filed by Plaintiff Adam Cloward, (Response filed by
          Defense on 02/25/2022)
      d. PRO SE MOTION to Seal False and Stigmatizing Document Attorney Filed on

          February 11, 2022, Filed on February 11, 2022 by Plaintiff Adam Cloward
          (Response filed by Defense on 02/25/2022)
   3. Defendants in their response to the pending motions submitted this statement;


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           ARGUMENT Under Fed. R. Civ. P. 16(b)(4), “A schedule may be modified
           only for good cause and with the judge's consent.” Defendants oppose an
           unlimited stay of the case or a long extension of deadlines; however, they
           believe a limited extension, or dismissal without prejudice under Fed. R. Civ.
           P. 41(b), is warranted. (Defense Response to Plaintiff’s motion             in
           opposition Document #77 docket, pg.3 Argument)
           Concluding with;
           CONCLUSION For the reasons set forth above, the Court should not stay
           this lawsuit for an extended period, or extend fact discovery indefinitely. To
           the contrary, dismissal without prejudice or, in the alternative, a 90-day
           extension of fact discovery, is warranted. (Defense Response to Plaintiff’s
           motion in opposition Document #77 docket, pg.4 Conclusion)
   4. Plaintiffs last know contact information;
      a. Mr. Cloward’s last known address was;
                  8332 West Aleen Ave.
                  Magna, UT 844044
                  406-561-2671
      b. Counsel has received messages from Mr. Cloward via two (2) email addresses:
          i.      Mylegalcontention1@protomail.com
          ii.     Mylegalcontention2@protomail.com
   5. Withdrawal does not disadvantage Plaintiff as delay is the desire of Plaintiff and the
      nature of one of the pending motions.




                                                            Dated February 25, 2022


                                                            /S/ Ron Ball Jr.
                                                            Ronald Ball
                                                            Attorney for Plaintiff




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           THE FOLLOWING NOTICES ARE PROVIDED WITH THE MOTION


      1. Pursuant to DUCivR 83-1.4, Should the Court grant the Motion to Withdraw and no
         substitution of counsel has been filed, the client must file notice of appearance within
         21 days after entry of the order, unless otherwise ordered by the court.
      2. Pursuant to DUCivR 83-1.3, no corporation, limited liability company, or other
         artificial entity may appear pro se, but must be represented by an attorney who is
         admitted to practice in this court, and
      3. Pursuant to Fed. R. Civ. P. 16(f)(1), An unrepresented party who fails to appear
         within 21 days after entry of the order, or within the time otherwise required by the
         court, may be subject to sanction pursuant to Fed. R. Civ. P. 16(f)(1), including but
         not limited to dismissal or default judgment.




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                             CERTIFICATE OF SERVICE
The undersigned hereby certifies that on February 25, 2022, a true and correct copy of the
forgoing PLAINTIFF’S COUNSEL’S MOTION FOR LEAVE OF THE COURT TO WITHDRAW was
served via The court ECF System. Plaintiff was served via E-Mail to last known email address.


Melinda K. Bowen                                    William G. Garbina
SNOW CHRISTENSEN & MARTINEAU                        SALT LAKE COUNTY DISTRICT
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LEAD ATTORNEY
ATTORNEY TO BE NOTICED                              Email: wgarbina@slco.org

                                                    Adam Cloward
                                                    Plaintiff
                                                    Mylegalcontention2@protomail.com


                                                           Dated February 25, 2022


                                                           /S/ Ron Ball Jr.
                                                           Ronald Ball
                                                           Attorney for Plaintiff




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